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MIED ProSe 1 (Rev /) Complaint for a Civil Case


                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF MICHIGAN
                                                                                     Case: 4:25−cv−10812
                                                                                     Assigned To : Behm, F. Kay
                                                                                     Referral Judge: Ivy, Curtis, Jr
Rana S, Coleman On Behalf of Rscoleman and Associates                                Assign. Date : 3/24/2025
Staffing LLC                                                           Case No.      Description: CMP Rana Coleman v.
                                                                                     U.S. Department of Education (tt)
                                                                       ________________________________
                                                                       (to be filled in by the Clerk’s Office)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional      Jury Trial:    տ Yes տ   ✔ No
page with the full list of names.)                                                    (check one)

v.
The U.S. Department of Education




(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)


                                        Complaint for a Civil Case
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I.       The Parties to This Complaint
         A.       The Plaintiff(s)
                  Provide the information below for each plaintiff named in the complaint. Attach
                  additional pages if needed.
                           Name                      Rana S. Coleman
                                                     __________________________________________
                           Street Address            9000 E. Jefferson Ave Apt 9-15
                                                     __________________________________________
                           City and County           Detroit Wayne
                                                     __________________________________________
                           State and Zip Code        Michigan 48214
                                                     __________________________________________
                           Telephone Number          3134042741
                                                     __________________________________________
                           E-mail Address            Msranacoleman@gmail.com
                                                     __________________________________________

         B.       The Defendant(s)
                  Provide the information below for each defendant named in the complaint, whether the
                  defendant is an individual, a government agency, an organization, or a corporation.
                  For an individual defendant, include the person’s job or title (if known). Attach
                  additional pages if needed.
                  Defendant No. 1
                           Name                      U.S Department Of Education
                                                     __________________________________________
                           Job or Title              Federal Agency
                                                     __________________________________________
                           (if known)
                           Street Address            400 Maryland Avenue SW
                                                     __________________________________________
                           City and County           Washington DC
                                                     __________________________________________
                           State and Zip Code        Washington DC 20202
                                                     __________________________________________
                           Telephone Number          (202) 4012000
                                                     __________________________________________
                           E-mail Address            __________________________________________
                           (if known)

                  Defendant No. 2
                           Name                      __________________________________________
                           Job or Title              __________________________________________
                           (if known)
                           Street Address            __________________________________________
                           City and County           __________________________________________
                           State and Zip Code        __________________________________________
                           Telephone Number          __________________________________________
                           E-mail Address            __________________________________________
                           (if known)

                                                         2
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                  Defendant No. 3
                           Name                      __________________________________________
                           Job or Title              __________________________________________
                           (if known)
                           Street Address            __________________________________________
                           City and County           __________________________________________
                           State and Zip Code        __________________________________________
                           Telephone Number          __________________________________________
                           E-mail Address            __________________________________________
                           (if known)

                  Defendant No. 4
                           Name                      __________________________________________
                           Job or Title              __________________________________________
                           (if known)
                           Street Address            __________________________________________
                           City and County           __________________________________________
                           State and Zip Code        __________________________________________
                           Telephone Number          __________________________________________
                           E-mail Address            __________________________________________
                           (if known)



II.      Basis for Jurisdiction
         Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
         cases can be heard in federal court: cases involving a federal question and cases involving
         diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
         States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C.
         § 1332, a case in which a citizen of one State sues a citizen of another State or nation and the
         amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
         citizenship case, no defendant may be a citizen of the same State as any plaintiff.

         What is the basis for federal court jurisdiction? (check all that apply)
                    տ
                    ✔ Federal question                          տ Diversity of citizenship

         Fill out the paragraphs in this section that apply to this case.




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         A.       If the Basis for Jurisdiction Is a Federal Question
                  List the specific federal statutes, federal treaties, and/or provisions of the United States
                  Constitution that are at issue in this case.
                  Violation of Title VI of the Civil Rights Act of 1964
                  Violation of the Fouthteenth Amendment of the U.S. Consistution- The Equal
                  Protection Clause
                  Violation of the Fith Amendment - The Due Process Clause
                  Violation of the First Amendment-Infringement on protected speech and advocacy
         B.       If the Basis for Jurisdiction Is Diversity of Citizenship

                  1.       The Plaintiff(s)

                           a.        If the plaintiff is an individual
                                     The plaintiff, (name) _________________________________________,
                                     is a citizen of the State of (name) _______________________.

                           b.        If the plaintiff is a corporation
                                     The plaintiff, (name) ________________________________________,
                                     is incorporated under the laws of the State of (name)
                                     ______________________, and has its principal place of business in the
                                     State of (name) _______________________.

                           (If more than one plaintiff is named in the complaint, attach an additional page
                           providing the same information for each additional plaintiff.)

                  2.       The Defendant(s)

                           a.        If the defendant is an individual
                                     The defendant, (name) ______________________, is a citizen of the
                                     State of (name) _______________________. Or is a citizen of (foreign
                                     nation) _______________________.

                           b.        If the defendant is a corporation
                                     The defendant, (name) _______________________, is incorporated
                                     under the laws of the State of (name) _______________________, and
                                     has its principal place of business in the State of (name)
                                     _______________________. Or is incorporated under the laws of
                                     (foreign nation) _______________________, and has its principal place
                                     of business in (name) _______________________.

                           (If more than one defendant is named in the complaint, attach an additional
                           page providing the same information for each additional defendant.)

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                  3.       The Amount in Controversy

                           The amount in controversy—the amount the plaintiff claims the defendant owes
                           or the amount at stake—is more than $75,000, not counting interest and costs of
                           court, because (explain):
                            The amount in controversy exceeds $75,000 based on the substantial potential
                            harm caused by the enforcement of the executive orders .This includes the threat
                            of diminished future funding opportunities, strained partnerships and disruptions
                            that threaten Plaintiff's mission.
III.     Statement of Claim
         Write a short and plain statement of the claim. Do not make legal arguments. State as briefly
         as possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
         State how each defendant was involved and what each defendant did that caused the plaintiff
         harm or violated the plaintiff’s rights, including the dates and places of that involvement or
         conduct. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.
         On January 20th, 2025, and January 21st, 2025, the President issued Executive Orders 14151
         and 14173. These orders mandated the elimination of diversity, equity, inclusion, and
         accessibility (DEIA) programs. Subsequently, on February 14th, 2025, the Department of
         Education issued a “Dear Colleague” letter, directing institutions, including those supported by
         historically Black colleges and universities (HBCUs), to comply with these executive
         orders.RSColeman & Associates Staffing LLC, a Black woman-owned advocacy and staffing
         firm, helps Black students, including those attending HBCUs, secure internships and
         professional positions within the legal professionwhile providing opportunities for marginalized
         groups. The enforcement of the executive orders and the Department of Education’s directive
         has directly harmed RSColeman’s ability to fulfill its mission. These actions threaten to
         diminish funding opportunities, disrupt crucial partnerships, and hinder efforts to advocate for
         racial equity and create pathways to equitable employment.Unless enforcement of the executive
         orders is halted, the harm to RSColeman will persist, jeopardizing the critical work the firm
         undertakes to support HBCUs, Black students, and other marginalized communities.




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IV.      Relief
         State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
         not make legal arguments. Include any basis for claiming that the wrongs alleged are
         continuing at the present time. Include the amounts of any actual damages claimed for the acts
         alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,
         the amounts, and the reasons you claim you are entitled to actual or punitive money damages.
         Plaimtiff request that the court implements an injunction to prevent the enforcement of
         executive orders 14151 and 14173 and related guidance including the February 14th 2025 Dear
         Colleague letter and FAQ by declaring these actions unconsitutional, awarding plaintiff
         reasonable attorney's fees and cost incurred in bringing this action an f grant any other relief
         that this court deems just and equitable.




V.       Certification and Closing
         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
         knowledge, information, and belief that this complaint: (1) is not being presented for an
         improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
         litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
         modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
         specifically so identified, will likely have evidentiary support after a reasonable opportunity for
         further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.


         A.       For Parties Without an Attorney
                  I agree to provide the Clerk’s Office with any changes to my address where case-
                  related papers may be served. I understand that my failure to keep a current address on
                  file with the Clerk’s Office may result in the dismissal of my case.

                  Date of signing: _____________________,
                                   3/22                   20_____.
                                                            25

                  Signature of Plaintiff             ______________
                                                     ___________________________________________
                  Printed Name of Plaintiff          ___________________________________________
                                                      Rana S. Coleman


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Additional Information:



 On January 20, 2025, President Donald J. Trump issued Executive Order 14151, directing federal
agencies to eliminate offices, positions, and programs related to diversity, equity, inclusion, and
accessibility (DEIA). On January 21, 2025, President Donald J. Trump issued Executive Order 14173,
further emphasizing the elimination of DEIA initiatives and imposing civil investigations, funding
restrictions, and potential legal consequences on institutions and organizations promoting DEIA. This
administration and the Department of Education seek to return America to a dark time in its history,
where inequities were the norm and discrimination was accepted. The Department of Education, as well
as this administration, speaks as if erasing DEIA will ultimately erase Black Americans and other
minorities from existence in this country. Not only is this utterly disrespectful and distasteful, but it also
serves as an insult to the intelligence of the American people. The executive orders issued by the
Department of Education and President Trump worsen the challenges faced by Historically Black
Colleges and Universities (HBCUs) and Black students. The executive orders issued by the Department
of Education and President Trump intensify the challenges faced by Historically Black Colleges and
Universities (HBCUs) and Black students by targeting the very programs designed to support their
success. HBCUs, race-based scholarships, financial aid programs, and organizations such as the Divine
Nine were established because Black students were denied the right to attend other colleges in America
during the era of Jim Crow laws, which enforced racial segregation and restricted access to education.
These orders dismantle funding streams for these critical programs and discourage institutions from
engaging in initiatives that celebrate and preserve Black history. By undermining DEIA programs, the
orders enable the narratives of Black Americans who have built and formed this country since the
arrival of their enslaved ancestors centuries ago. Furthermore, they pave the way for downplaying its
atrocities and the systemic inequities it created, which continue to affect Black communities today.
Organizations like the United Negro College Fund (UNCF) have played a vital role in supporting
Historically Black Colleges and Universities and providing scholarships and resources to Black
students for decades. Founded on the principle of ensuring educational opportunities for all, the UNCF's
work underscores the continued need for targeted initiatives to address historical inequities and promote
Black student success in higher education. The present Executive Orders and the Department of
Education's actions threaten the very institutions and support systems that organizations like the UNCF
strive to strengthen. The principles of equality and the rejection of segregation in education were
foundational to the Civil Rights Movement, resulting in the landmark Supreme Court decision of
Brown v. Board of Education, 347 U.S. 483 (1954). In this pivotal ruling, the Supreme Court declared
that in the field of public education, "separate educational facilities are inherently unequal," recognizing
the profound and damaging impact of segregation on Black students. This decision laid the groundwork
for federal intervention to ensure equal educational opportunities for all Americans, particularly Black
Americans who had historically faced systemic discrimination. The present Executive Orders and the
Department of Education's actions risk undermining the progress achieved continued on next pg



                                                     
                           Case 4:25-cv-10812-FKB-CI ECFCOVER
                                                         No. 1, PageID.8       &RXQW\LQZKLFKDFWLRQDURVHBBBBBBBBBBBBBBB
JS 44 (Rev. 10/20)                               CIVIL           SHEET Filed 03/24/25     Page 8 of 9USA
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
Rana S.Coleman On Behalf of Rscoleman and Associates Staffung LLC                                          The U.S. Department of Education
9000 E. Jefferson Ave Apartment 9-15 Detroit MI 48214                                                      400 Maryland Avenue SW Washington DC 20202

   (b) County of Residence of First Listed Plaintiff                                                      County of Residence of First Listed Defendant              U.S
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)
Pro Se                                                                                                     Pamela Bondi
                                                                                                           950 Pennsylvania Ave NW Ste 7141, Washington, DC 20530


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                    and One Box for Defendant)
   1     U.S. Government             ■3     Federal Question                                                                    PTF        DEF                                         PTF      DEF
           Plaintiff                          (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

   2     U.S. Government                4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place        5       5
           Defendant                          (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                          6       6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
            CONTRACT                                              TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
   110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
   120 Marine                         310 Airplane                365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
   130 Miller Act                     315 Airplane Product            Product Liability             690 Other                                28 USC 157                        3729(a))
   140 Negotiable Instrument               Liability              367 Health Care/                                                                                         400 State Reapportionment
   150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
       & Enforcement of Judgment           Slander                    Personal Injury                                                     820 Copyrights                   430 Banks and Banking
   151 Medicare Act                   330 Federal Employers’          Product Liability                                                   830 Patent                       450 Commerce
   152 Recovery of Defaulted               Liability              368 Asbestos Personal                                                   835 Patent - Abbreviated         460 Deportation
        Student Loans                 340 Marine                      Injury Product                                                          New Drug Application         470 Racketeer Influenced and
        (Excludes Veterans)           345 Marine Product              Liability                                                           840 Trademark                        Corrupt Organizations
   153 Recovery of Overpayment             Liability             PERSONAL PROPERTY                           LABOR                        880 Defend Trade Secrets         480 Consumer Credit
       of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                   710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
   160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                  Act                                                                485 Telephone Consumer
   190 Other Contract                     Product Liability       380 Other Personal                720 Labor/Management                 SOCIAL SECURITY                       Protection Act
   195 Contract Product Liability     360 Other Personal              Property Damage                   Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
   196 Franchise                          Injury                  385 Property Damage               740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -           Product Liability             751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
       REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
   210 Land Condemnation            ■ 440 Other Civil Rights      Habeas Corpus:                    791 Employee Retirement                                                893 Environmental Matters
   220 Foreclosure                    441 Voting                  463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
   230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff             Act
   240 Torts to Land                  443 Housing/                    Sentence                                                               or Defendant)                 896 Arbitration
   245 Tort Product Liability             Accommodations          530 General                                                            871 IRS—Third Party               899 Administrative Procedure
   290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                     IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment              Other:                            462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -  540 Mandamus & Other              465 Other Immigration                                                  950 Constitutionality of
                                          Other                   550 Civil Rights                      Actions                                                                State Statutes
                                      448 Education               555 Prison Condition
                                                                  560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an “X” in One Box Only)
■ 1 Original       2 Removed from                            3     Remanded from               4 Reinstated or             5 Transferred from
                                                                                                                               6 Multidistrict     8 Multidistrict
       Proceeding             State Court                          Appellate Court               Reopened                    Another District
                                                                                                                                   Litigation -      Litigation -
                                                                                                                             (specify)
                                                                                                                                   Transfer          Direct File
                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                    Title VI, 42 U.S.C. § 2000d et seq.
VI. CAUSE OF ACTION Brief description of cause:
                    Violation of Title VI of The Civil Rights Act (1964)
VII. REQUESTED IN       CHECK IF THIS IS A CLASS ACTION                   DEMAND $ 0.00                                CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                                       JURY DEMAND:             Yes   ■ No
VIII. RELATED CASE(S)
                                            (See instructions):
      IF ANY                                                        JUDGE                                                                DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

  RECEIPT #                      AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
                 Case 4:25-cv-10812-FKB-CI ECF No. 1, PageID.9 Filed 03/24/25 Page 9 of 9
PURSUANT TO LOCAL RULE 83.11
1.                Is this a case that has been previously dismissed?                        Yes
                                                                                            No
     If yes, give the following information:

     Court:

     Case No.:

     Judge:



2.                Other than stated above, are there any pending or previously
                  discontinued or dismissed companion cases in this or any other            Yes
                  court, including state court? (Companion cases are matters in which     ■ No
                  it appears substantially similar evidence will be offered or the same
                  or related parties are present and the cases arise out of the same
                  transaction or occurrence.)

     If yes, give the following information:

     Court:

     Case No.:

     Judge:


Notes :
